Case 2:Ol-cr-20025-.]PI\/| Document 28 Filed 08/29/05 Page 1 of 2 Page|D 39

 

 

IN THE UNITED sTATEe DISTRICT cOURT mm BY-»-%§€__....m
FOR THE wesTERN DISTRICT oe TENNESSEE
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wmata win
UNITED sTATEe 0F AMERICA Cl.ERt\US DSTR!CTUBT
WlDOF TN. MEM°HS

Plaintiff,

V.

/4;4;¢ :;;;zzn¢v

Criminal No.ézz_-é;@@?;v Ml

(180-Day Continuance)

 

 

Defendant(s}.

 

REPORT ON FUGITIVE STATUS AND RESETTING

 

As indicated by the signature of counsel for the United
States, through its Assistant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above-referenced fugitive defendant(s). A follow-up report
on efforts to bring the above-referenced fugitive defendant(s)
before the Court will be made on Fridav, Februarv 24, 2006, at

10:30 a.m.

so oRDERED this 26th day of August:, 2005.

/Qr@ W)(MQ
JO -PHIPPS MCCALLA
`M'_’V`/g TED STATES DIS'I'RICT JUDGE

ASSiStant United States Att?rt§s dc¥:umertt entered on the docket sheet in compltance

With Ru|e at and/or 32{!;)) FRCrP on

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UNITED s…ATEISTIC COUR - WTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:0]-CR-20025 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Jon McCalla
US DISTRICT COURT

